      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.1 Page 1 of 8




 1   Todd M. Friedman (216752)
     Adrian R. Bacon (280332)
 2   Law Offices of Todd M. Friedman, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4
     Phone: (877) 206-4741
 5   Fax: (866)633-0228
 6
     tfriedman@toddflaw.com
     abacon@toddflaw.com
 7   Attorneys for Plaintiffs,
 8
                        UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10
     CRAIG CUNNINGHAM, individually, )         Case No. '18CV2189 JM BLM
11
     and on behalf of all others similarly )
12   situated,                             )   CLASS ACTION
13                                         )
     Plaintiff,                            )   COMPLAINT FOR VIOLATIONS
14                                         )   OF:
15          vs.                            )
                                           )   1. NEGLIGENT VIOLATIONS OF
16                                                THE TELEPHONE CONSUMER
                                           )      PROTECTION ACT [47 U.S.C.
17   PACIFIC BUSINESS                      )      §227 ET SEQ.]
     MANAGEMENT, INC., and DOES 1 )            2. WILLFUL VIOLATIONS OF THE
18                                                TELEPHONE CONSUMER
     through 10, inclusive,                )      PROTECTION ACT [47 U.S.C.
19                                         )      §227 ET SEQ.]
20   Defendant.                            )
                                           )   DEMAND FOR JURY TRIAL
21
                                           )
22         Plaintiff, CRAIG CUNNINGHAM (“Plaintiff”), individually, and on behalf
23   of all others similarly situated, alleges the following upon information and belief
24   based upon personal knowledge:
25                              NATURE OF THE CASE
26         1.    Plaintiff brings this action for himself and others similarly situated
27   seeking damages and any other available legal or equitable remedies resulting from
28   the illegal actions of PACIFIC BUSINESS MANAGEMENT, INC. (“Defendant”),


                                 CLASS ACTION COMPLAINT
                                            -1-
      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.2 Page 2 of 8




 1   in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s
 2   cellular telephone in violation of the Telephone Consumer Protection Act, 47.
 3   U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 4                              JURISDICTION & VENUE
 5           2.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 6   a resident of Tennessee, seeks relief on behalf of a Class, which will result in at
 7   least one class member belonging to a different state than that of Defendant, a
 8   Nevada company with its principal place of business in California. Plaintiff also
 9   seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
10   when aggregated among a proposed class in the thousands, exceeds the
11   $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
12   jurisdiction and the damages threshold under the Class Action Fairness Act of 2005
13   (“CAFA”) are present, and this Court has jurisdiction.
14           3.     Venue is proper in the United States District Court for the Southern
15   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
16   because Defendant does business within the state of California and its principle
17   place of business is located within this District.
18                                        PARTIES
19           4.    Plaintiff, CRAIG CUNNINGHAM (“Plaintiff”), is a natural person
20   residing in Nashville, Tennessee and is a “person” as defined by 47 U.S.C. § 153
21   (10).
22           5.    Defendant, PACIFIC BUSINESS MANAGEMENT (“Defendant”), is
23   a nationwide debt restructuring company and is a “person” as defined by 47 U.S.C.
24   § 153 (10).
25           6.    The above named Defendant, and its subsidiaries and agents, are
26   collectively referred to as “Defendants.” The true names and capacities of the
27   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
28   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious


                                   CLASS ACTION COMPLAINT
                                              -2-
      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.3 Page 3 of 8




 1   names. Each of the Defendants designated herein as a DOE is legally responsible
 2   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 3   Complaint to reflect the true names and capacities of the DOE Defendants when
 4   such identities become known.
 5         7.     Plaintiff is informed and believes that at all relevant times, each and
 6   every Defendant was acting as an agent and/or employee of each of the other
 7   Defendants and was acting within the course and scope of said agency and/or
 8   employment with the full knowledge and consent of each of the other Defendants.
 9   Plaintiff is informed and believes that each of the acts and/or omissions complained
10   of herein was made known to, and ratified by, each of the other Defendants.
11                              FACTUAL ALLEGATIONS
12         8.     Beginning in or around May of 2018, Defendant contacted Plaintiff
13   on his cellular telephone, (615) 212-9191, in an effort to sell or solicit its services.
14         9. Defendant called Plaintiff on its cellular telephone from phone numbers
15   confirmed to belong to Defendant, including without limitation (702) 551-6089 and
16   (702) 943-8954
17         10.    Defendant used an “automatic telephone dialing system”, as defined
18   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to sell or solicit its
19   business services.
20         11.    Defendant’s calls constituted calls that were not for emergency
21   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22         12.    Defendant’s calls were placed to telephone number assigned to a
23   cellular telephone service for which Plaintiff incurs a charge for incoming calls
24   pursuant to 47 U.S.C. § 227(b)(1).
25         13.    Plaintiff is not a customer of Defendant’s services and has never
26   provided any personal information, including his cellular telephone number, to
27   Defendant for any purpose whatsoever. Accordingly, Defendant never received
28   Plaintiff’s “prior express consent” to receive calls using an automatic telephone


                                   CLASS ACTION COMPLAINT
                                              -3-
      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.4 Page 4 of 8




 1   dialing system or an artificial or prerecorded voice on his cellular telephone
 2   pursuant to 47 U.S.C. § 227(b)(1)(A).
 3                                CLASS ALLEGATIONS
 4         14.    Plaintiff brings this action on behalf of himself and all others similarly
 5   situated, as a member of the proposed class (hereafter “The Class”) defined as
 6   follows:
 7
                  All persons within the United States who received any
 8                telephone calls from Defendant to said person’s cellular
 9                telephone made through the use of any automatic
                  telephone dialing system or an artificial or prerecorded
10
                  voice and such person had not previously consented to
11                receiving such calls within the four years prior to the
12
                  filing of this Complaint

13
           15.    Plaintiff represents, and is a member of, The Class, consisting of All
14
     persons within the United States who received any telephone calls from Defendant
15
     to said person’s cellular telephone made through the use of any automatic telephone
16
     dialing system or an artificial or prerecorded voice and such person had not
17
     previously not provided their cellular telephone number to Defendant within the
18
     four years prior to the filing of this Complaint.
19
           16.    Defendant, its employees and agents are excluded from The Class.
20
     Plaintiff does not know the number of members in The Class, but believes the Class
21
     members number in the thousands, if not more. Thus, this matter should be
22
     certified as a Class Action to assist in the expeditious litigation of the matter.
23
           17.    The Class is so numerous that the individual joinder of all of its
24
     members is impractical. While the exact number and identities of The Class
25
     members are unknown to Plaintiff at this time and can only be ascertained through
26
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
27
     The Class includes thousands of members.            Plaintiff alleges that The Class
28
     members may be ascertained by the records maintained by Defendant.


                                   CLASS ACTION COMPLAINT
                                              -4-
      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.5 Page 5 of 8




 1            18.   Plaintiff and members of The Class were harmed by the acts of
 2   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 3   and Class members via their cellular telephones thereby causing Plaintiff and Class
 4   members to incur certain charges or reduced telephone time for which Plaintiff and
 5   Class members had previously paid by having to retrieve or administer messages
 6   left by Defendant during those illegal calls, and invading the privacy of said
 7   Plaintiff and Class members.
 8            19.   Common questions of fact and law exist as to all members of The
 9   Class which predominate over any questions affecting only individual members of
10   The Class. These common legal and factual questions, which do not vary between
11   Class members, and which may be determined without reference to the individual
12   circumstances of any Class members, include, but are not limited to, the following:
13                  a.    Whether, within the four years prior to the filing of this
14                        Complaint, Defendant made any call (other than a call made for
15                        emergency purposes or made with the prior express consent of
16                        the called party) to a Class member using any automatic
17                        telephone dialing system or any artificial or prerecorded voice
18                        to any telephone number assigned to a cellular telephone
19                        service;
20                  b.    Whether Plaintiff and the Class members were damages
21                        thereby, and the extent of damages for such violation; and
22                  c.    Whether Defendant should be enjoined from engaging in such
23                        conduct in the future.
24            20.   As a person that received numerous calls from Defendants using an
25   automatic telephone dialing system or an artificial or prerecorded voice, without
26   Plaintiff’s prior express consent, Plaintiff is asserting claims that are typical of The
27   Class.
28            21.   Plaintiff will fairly and adequately protect the interests of the members


                                     CLASS ACTION COMPLAINT
                                                -5-
      Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.6 Page 6 of 8




 1   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
 2   class actions.
 3         22.    A class action is superior to other available methods of fair and
 4   efficient adjudication of this controversy, since individual litigation of the claims
 5   of all Class members is impracticable. Even if every Class member could afford
 6   individual litigation, the court system could not. It would be unduly burdensome
 7   to the courts in which individual litigation of numerous issues would proceed.
 8   Individualized litigation would also present the potential for varying, inconsistent,
 9   or contradictory judgments and would magnify the delay and expense to all parties
10   and to the court system resulting from multiple trials of the same complex factual
11   issues. By contrast, the conduct of this action as a class action presents fewer
12   management difficulties, conserves the resources of the parties and of the court
13   system, and protects the rights of each Class member.
14         23.    The prosecution of separate actions by individual Class members
15   would create a risk of adjudications with respect to them that would, as a practical
16   matter, be dispositive of the interests of the other Class members not parties to such
17   adjudications or that would substantially impair or impede the ability of such non-
18   party Class members to protect their interests.
19         24.    Defendant has acted or refused to act in respects generally applicable
20   to The Class, thereby making appropriate final and injunctive relief with regard to
21   the members of The Class as a whole.
22
                             FIRST CAUSE OF ACTION
23          Negligent Violations of the Telephone Consumer Protection Act
24                               47 U.S.C. §227 et seq.
25
           25.    Plaintiff repeats and incorporates by reference into this cause of
26
     action the allegations set forth above at Paragraphs 1-24.
27
           26.    The foregoing acts and omissions of Defendant constitute numerous
28



                                   CLASS ACTION COMPLAINT
                                              -6-
       Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.7 Page 7 of 8




 1   and multiple negligent violations of the TCPA, including but not limited to each
 2   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 3          27.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
 4   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
 5   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 6          28.   Plaintiff and the Class members are also entitled to and seek
 7   injunctive relief prohibiting such conduct in the future.
 8
                         SECOND CAUSE OF ACTION
 9    Knowing and/or Willful Violations of the Telephone Consumer Protection
10                                      Act
                              47 U.S.C. §227 et seq.
11
12          29.   Plaintiff repeats and incorporates by reference into this cause of
13   action the allegations set forth above at Paragraphs 1-28.
14          30.   The foregoing acts and omissions of Defendant constitute numerous
15   and multiple knowing and/or willful violations of the TCPA, including but not
16   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
17   seq.
18          31.   As a result of Defendant’s knowing and/or willful violations of 47
19   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
20   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
21   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
22          32.   Plaintiff and the Class members are also entitled to and seek
23   injunctive relief prohibiting such conduct in the future.
24                                PRAYER FOR RELIEF
25   WHEREFORE, Plaintiff requests judgment against Defendants for the following:
26   ///
27   ///
28   ///


                                  CLASS ACTION COMPLAINT
                                             -7-
     Case 3:18-cv-02189-JM-BLM Document 1 Filed 09/21/18 PageID.8 Page 8 of 8




 1                        FIRST CAUSE OF ACTION
         Negligent Violations of the Telephone Consumer Protection Act
 2                            47 U.S.C. §227 et seq.
 3
              As a result of Defendants’ negligent violations of 47 U.S.C.
 4
               §227(b)(1), Plaintiff and the Class members are entitled to and
 5             request $500 in statutory damages, for each and every violation,
 6             pursuant to 47 U.S.C. 227(b)(3)(B);
              An order for injunctive relief prohibiting such conduct by Defendants
 7             in the future; and
 8            Any and all other relief that the Court deems just and proper.
 9
                        SECOND CAUSE OF ACTION
10   Knowing and/or Willful Violations of the Telephone Consumer Protection
11                                     Act
                             47 U.S.C. §227 et seq.
12
13            As a result of Defendants’ willful and/or knowing violations of 47
               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
14
               and request treble damages, as provided by statute, up to $1,500, for
15             each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
16             U.S.C. §227(b)(3)(C);
              An order for injunctive relief prohibiting such conduct by Defendants
17             in the future; and
18            Any and all other relief that the Court deems just and proper.
19
20       Respectfully Submitted this 21st of September, 2018.
21                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.
22
23
                                   By: /s/ Todd M. Friedman
                                       Todd M. Friedman
24                                     Law Offices of Todd M. Friedman
25                                     Attorney for Plaintiff
26
27
28



                              CLASS ACTION COMPLAINT
                                         -8-
